
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by Claimant and Respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On or about January 21, 2010, Claimant’s 2006 Buick Lucerne CXS struck a hole on the Oglebay Pike Exit of 1-70 in Ohio County.
2. Respondent is responsible for the maintenance of 1-70 which it failed to maintain properly on the date of this incident.
3. As a result, Claimant’s vehicle sustained damage to its tires and rims in the amount of $551.20. Claimant’s insurance deductible was $1,000.00.
4. Respondent agrees that the amount of $5 51.20 for the damages put forth by the Claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that Respondent was negligent in its maintenance of 1-70 on the date of this incident; that the negligence of Respondent was the proximate cause of the damages sustained to Claimant’s vehicle; and that the amount of damages agreed to by the parties is fair and reasonable. Thus, Claimant may malee a recovery for this loss.
*183It is the opinion of the Court of Claims that the Claimant should be awarded the sum of $551.20 on this claim.
Award of $551.20.
